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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 17-cv-02473-GPG



MARK WALTER PAULSEN,

       Plaintiff,

v.

JEFFERSON COUNTY SHERIFF’S DEPARTMENT,
JEFFERSON COUNTY JAIL, Holding Facility,
SHERIFF JEFF SHRADER,
JEFFERSON COUNTY JAIL, Administration Department,
MIKE COLLINS, Classification and Movement Officer at JCJ,
COLORADO DEPARTMENT OF CORRECTIONS, Buena Vista Correctional Facility,
BUENA VISTA CORRECTIONAL FACILITY ADMINISTATIVE INTAKE,
RICK RAEMISCH, Executive Director, and
JASON LINGRICH, WARDEN, BVCF,

       Defendants.



                                 ORDER OF DISMISSAL


       Plaintiff Mark Walter Paulsen is in the custody of the Colorado Department of

Corrections and currently is incarcerated at the Sterling Correctional Facility in Sterling,

Colorado. Plaintiff initiated this action by filing pro se a Prisoner Complaint, ECF No. 1.

On October 17, 2017, Magistrate Judge Gordon P. Gallagher instructed Plaintiff to cure

certain deficiencies before proceeding in this Court with this action.

       Specifically, Magistrate Judge Gallagher ordered Plaintiff to file a Court-approved

Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 form or

in the alternative to pay the $400 filing fee in full. Plaintiff was warned that the action

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would be dismissed without further notice if he failed to cure the deficiencies within thirty

days.

        On November 9, 2017, Plaintiff submitted an account statement and an

authorization to withdraw funds, but he failed to submit a Prisoner’s Motion and Affidavit

for Leave to Proceed Pursuant to 28 U.S.C.§ 1915 as he was instructed to do in the

October 17, 2017 Order to Cure Deficiencies. Plaintiff has filed previous actions in this

Court and is aware that he is required to submit a Prisoner’s Motion and Affidavit to

Proceed Pursuant to 28 U.S.C. § 1915 Court-approved form if he desires to proceed

pursuant to § 1915. See Paulsen v. Booth, et al., No. 16-cv-00129-PAB-KMT (Filed Jan.

19, 2016); Paulsen v. Anderson, et al., No. 15-cv-00800-PAB-KMT (Filed Apr. 15, 2015).

Plaintiff does not state that he is unable to obtain a Prisoner’s Motion and Affidavit form,

which is required to comply with the October 17, 2017 Order.

        Because Plaintiff now has failed to comply with the October 17, 2017 Order within

the time allowed the Complaint and action will be dismissed.

        The Court also certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from

this Order is not taken in good faith, and, therefore, in forma pauperis status is denied for

the purpose of appeal. See Coppedge v. United States, 369 U.S. 438 (1962). If Plaintiff

files a notice of appeal he must also pay the full $505 appellate filing fee or file a motion to

proceed in forma pauperis in the Tenth Circuit within thirty days in accordance with Fed.

R. App. P. 24.    Accordingly, it is

        ORDERED that this action is dismissed without prejudice pursuant to Fed. R. Civ.

P. 41(b) for failure to comply with the October 17, 2017 Order, within the time allowed,

and for failure to prosecute. It is


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      FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

denied.

      DATED at Denver, Colorado, this   27th   day of   November   , 2017.

                                            BY THE COURT:

                                             s/Lewis T. Babcock
                                            LEWIS T. BABCOCK, Senior Judge
                                            United States District Court




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